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                         EXHIBIT 1
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 JONATHAN ALTER, KAI BIRD, TAYLOR
 BRANCH, RICH COHEN, EUGENE                             Case No. 1:23-cv-10211-SHS
 LINDEN, DANIEL OKRENT, JULIAN
 SANCTON, HAMPTON SIDES, STACY
 SCHIFF, JAMES SHAPIRO, JIA                             PLAINTIFFS’ FIRST SET OF
 TOLENTINO, and SIMON WINCHESTER,                       REQUESTS FOR PRODUCTION
 on behalf of themselves and all others similarly       OF DOCUMENTS TO OPENAI
 situated,                                              DEFENDANTS

                        Plaintiffs,

         v.

 OPENAI, INC., OPENAI GP, LLC, OPENAI,
 LLC, OPENAI OPCO LLC, OPENAI
 GLOBAL LLC, OAI CORPORATION, LLC,
 OPENAI HOLDINGS, LLC, and
 MICROSOFT CORPORATION,

                        Defendants.



      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiffs requests that

Defendants OpenAI, Inc., OpenAI GP, LLC, OpenAI, LLC, OpenAI OPCO LLC, OpenAI Global

LLC, OAI Corporation, LLC, OpenAI Holdings, LLC (collectively, “OpenAI”) produce the

documents described below within thirty (30) days of service at the offices of Susman Godfrey

L.L.P., 1901 Avenue of the Americas, 32nd Floor, New York, New York 10019. Plaintiffs are

amenable to an electronic production, subject to agreement by the parties.

                                          DEFINITIONS

        1.      “ACTION” means the above captioned litigation, Jonathan Atler, et al., v. Open AI

Inc. et al., No. 1:23-cv-10211-SHS (S.D.N.Y.) (opened Nov. 21, 2023).




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        2.      “COMMUNICATION” means the conveyance (in the form of facts, ideas, thoughts,

opinions, data, inquiries or otherwise) of information and INCLUDES correspondence, memoranda,

reports, presentations, face-to-face conversations, telephone conversations, text messages, instant

messages, voice messages, negotiations, agreements, inquiries, understandings, meetings, letters,

notes, mail, email, exchanges of recorded information, and postings of any type.

COMMUNICATIONS INCLUDES instances where one party disseminates information that the

other party receives but does not respond to.

        3.          “COMPLAINT” means the operative complaint in the ACTION as of the date these

Requests are served.

        4.      “CONCERN” or “CONCERNING” means to be the subject of, make reference to,

comment on, discuss, describe, identify, or contain text or images about the stated topic.

        5.      “DEFENDANTS,” “OPENAI,” “YOU,” or “YOUR” means OpenAI, Inc., OpenAI

GP, LLC, OpenAI, LLC, OpenAI OPCO LLC, OpenAI Global LLC, OAI Corporation, LLC, OpenAI

Holdings, LLC and any of their directors, officers, employees, partners, members, representatives,

agents (INCLUDING attorneys, accountants, consultants, investment advisors or bankers), and any

other person acting or purporting to act on their behalf, as well as corporate parents, subsidiaries,

affiliates, predecessor entities, successor entities, divisions, departments, groups, acquired entities,

related entities, or any other entity acting or purporting to act on their behalf.

        6.      “DOCUMENTS” means all materials within the full scope of Federal Rule of Civil

Procedure 34 INCLUDING all writings and recordings, INCLUDING the originals, drafts and all

non-identical copies, whether different from the original by reason of any notation made on such

copies or otherwise (INCLUDING email and attachments, correspondence, memoranda, notes,

diaries, statistics, letters, telegrams, minutes, contracts, reports, studies, checks, statements, tags,

labels, invoices, brochures, periodicals, receipts, returns, summaries, pamphlets, books, interoffice

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and intra-office communications, instant messages, chats, offers, notations of any sort of

conversations, working papers, applications, permits, file wrappers, indices, telephone calls, meetings

or printouts, teletypes, telefax, invoices, worksheets, and all drafts, alterations, modifications,

changes and amendments of any of the foregoing), graphic or aural representations of any kind

(INCLUDING photographs, charts, microfiche, microfilm, videotape, recordings, motion pictures,

plans, drawings, surveys), and electronic, mechanical, magnetic, optical, or electric records or

representations of any kind (INCLUDING computer files and programs, tapes, cassettes, discs, and

recordings), INCLUDING METADATA.

        7.      “ELECTRONICALLY STORED INFORMATION” or “ESI” refers to information

and DOCUMENTS within the full scope of Federal Rule of Civil Procedure 34 with all METADATA

intact—created, manipulated, communicated, stored, and best utilized in digital form, and stored on

electronic media. Examples of ESI INCLUDE e-mail, messages posted on electronic message boards,

forum postings, support tickets, videos, discussion boards, data, source code, websites, Microsoft

Word files, Microsoft Excel files, and instant messages.

        8.      “INCLUDING” means including but not limited to.

        9.      “LARGE LANGUAGE MODEL” or “LLM” has the same meaning as the term

discussed in YOUR letter to the Register of Copyrights and Director of the U.S. Copyright Office

dated October 30, 2023, “Re: Notice of Inquiry and Request for Comment [Docket No. 2023-06]”.

        10.     “METADATA” refers to structured information about an electronic file that is

embedded in the file, describing the characteristics, origins, usage, and validity of the electronic file.

        11.     “PLAINTIFFS” means the plaintiffs in the ACTION named in the COMPLAINT.

        12.     “RELATE TO” or “RELATING” means concerning, referring to, describing,

evidencing or constituting, in whole or in part.




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                                   RELEVANT TIME PERIOD

        The relevant time period is January 1, 2015 through the present (“Relevant Time Period”),

unless otherwise specifically indicated, and shall INCLUDE all DOCUMENTS and any other

information relating to such period, even though prepared or published outside of the Relevant Time

Period. If a DOCUMENT prepared before the Relevant Time Period is necessary for a correct or

complete understanding of any DOCUMENT covered by any of these Requests, please provide the

earlier DOCUMENT as well. If any DOCUMENT is undated and the date of its preparation cannot

be determined, please produce the DOCUMENT if it is otherwise responsive to any Request.

                                         INSTRUCTIONS

        1.      Produce each DOCUMENT requested herein in its entirety and without deletion or

excisions, regardless of whether YOU consider the entire document to be relevant or responsive.

        2.      If any DOCUMENT is known to have existed but no longer exists, has been destroyed,

or is otherwise unavailable, identify the DOCUMENT, the reason for its loss, destruction, or

unavailability, the name of each person known or reasonably believed by OPENAI to have had

possession, custody, or control of the original and any copy thereof (if applicable), and a description

of the disposition of each copy of the DOCUMENT.

        3.      If no DOCUMENTS responsive to a particular Request exist, state that no responsive

DOCUMENTS exist.

        4.      Construe the conjunctions “and” and “or” non-restrictively or nonexclusively if doing

so would bring within the scope of these Requests DOCUMENTS that might otherwise be construed

to be outside of their scope.

        5.      Construe the use of the singular to include the plural; the use of the masculine,

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feminine, or neuter gender to include the others; and the use of one form of the verb to include the

others if doing so would bring within the scope of these Requests DOCUMENTS that might

otherwise be construed to be outside of their scope.

                                REQUESTS FOR PRODUCTION

 REQUEST FOR PRODUCTION NO. 1:

          DOCUMENTS CONCERNING or RELATING TO PLAINTIFFS.

 REQUEST FOR PRODUCTION NO. 2:

          DOCUMENTS that YOU, as of the date these Requests are served, have already gathered

 or collected in order to submit them to any legislative or executive agency, committee, or other

 governmental entity in the United States that CONCERN or RELATE TO the allegations in the

 COMPLAINT.

 REQUEST FOR PRODUCTION NO. 3:

          DOCUMENTS that YOU, as of the date these Requests are served, have already gathered

 or collected in support of the DOCUMENTS referred to in Request No. 2, or on which the

 DOCUMENTS referred to in Request No. 2 rely.

 REQUEST FOR PRODUCTION NO. 4:

          DOCUMENTS CONCERNING or RELATING TO the policy YOU referred to as

 “Copyright Shield” in the November 6, 2023, blog post on YOUR website titled “New models and

 developer products announced at DevDay”.

 REQUEST FOR PRODUCTION NO. 5

          DOCUMENTS CONCERNING or RELATING TO the use of YOUR LARGE

  LANGUAGE MODELS to produce works of nonfiction for commercial purposes.

 REQUEST FOR PRODUCTION NO. 6:

          DOCUMENTS CONCERNING or RELATING TO the use of commercial works of

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 nonfiction to train YOUR LARGE LANGUAGE MODELS.



 REQUEST FOR PRODUCTION NO. 7:

          DOCUMENTS CONCERNING or RELATING TO YOUR policies or procedures

 CONCERNING or RELATING TO receiving, processing, or responding to complaints regarding

 YOUR use of purportedly copyrighted material in training YOUR LARGE LANGUAGE

 MODELS.

 REQUEST FOR PRODUCTION NO. 8:

          DOCUMENTS CONCERNING or RELATING TO any complaints YOU have received

 regarding YOUR use of purportedly copyrighted material in training YOUR LARGE

 LANGUAGE MODELS.

 REQUEST FOR PRODUCTION NO. 9:

          DOCUMENTS CONCERNING or RELATING TO any responses YOU have made to the

 complaints described in Request Nos. 7 and 8.

 REQUEST FOR PRODUCTION NO. 10:

          DOCUMENTS sufficient to explain whether and to what extent or in what form books, in

 whole or in part, in any form, format, or language, reside in, are stored in, or otherwise exist within

 YOUR LARGE LANGUAGE MODELS in a manner that is readable or understandable to the

 LLM.

 REQUEST FOR PRODUCTION NO. 11:

          DOCUMENTS sufficient to show the state and county where YOUR conduct described in

 paragraphs 65–83 of the COMPLAINT occurred, INCLUDING the location of YOUR offices

 where the conduct occurred, the location of YOUR servers and other computer systems involved

 in the conduct, and the location of YOUR employees who participated in the conduct to the extent

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 such participation happened outside YOUR offices.



 REQUEST FOR PRODUCTION NO. 12:

          DOCUMENTS RELATING TO any business, commerce, or other transactions YOU have

 conducted in the State of New York.

 REQUEST FOR PRODUCTION NO. 13:

          DOCUMENTS sufficient to identify and describe OPENAI’s corporate organizational

 structure, INCLUDING those sufficient to show OPENAI’s board of directors, parent companies,

 subsidiaries, affiliates, departments, and divisions; and those sufficient to show the function each

 DEFENDANT plays within YOUR corporate structure as a whole.

 REQUEST FOR PRODUCTION NO. 14:

          DOCUMENTS sufficient to identify OPENAI’s current and former officers, directors,

 managers, employees and consultants with knowledge of OPENAI’s large language models,

 business practices regarding same, commercial use of its large language models, and the matters

 described in paragraphs 37–92, and 105–108 of the COMPLAINT.

 REQUEST FOR PRODUCTION NO. 15:

          DOCUMENTS sufficient to show the roles and responsibilities of and supervisory

 relationship between OPENAI’s current and former officers, directors, managers, employees and

 consultants with knowledge of the topics in the previous request.

Dated: January 19, 2024

                                             /s/ Justin A. Nelson
                                             Justin A. Nelson (pro hac vice)
                                             Alejandra C. Salinas (pro hac vice)
                                             SUSMAN GODFREY L.L.P.
                                             1000 Louisiana Street, Suite 5100
                                             Houston, TX 77002
                                             Tel.: 713-651-9366
                                             jnelson@susmangodfrey.com
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                                                asalinas@susmangodfrey.com

                                                Rohit D. Nath (pro hac vice)
                                                SUSMAN GODFREY L.L.P.
                                                1900 Avenue of the Stars, Suite 1400
                                                Los Angeles, California 90067
                                                Tel.: 310-789-3100
                                                rnath@susmangodfrey.com

                                                J. Craig Smyser
                                                SUSMAN GODFREY L.L.P.
                                                1901 Avenue of the Americas, 32nd Floor
                                                New York, New York 10019
                                                Tel.: 212-336-8330
                                                csmyser@susmangodfrey.com


                                                Attorneys for Plaintiffs and the Proposed Class




                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 19, 2024, a copy of the foregoing was served via electronic

mail to all counsel of record in this matter.

                                                /s/ Justin A. Nelson
                                                Justin A. Nelson




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                                     SERVICE LIST

 Joseph C. Gratz                                 Annette L. Hurst
 MORRISON & FOERSTER LLP                         ORRICK, HERRINGTON & SUTCLIFFE LLP
 425 Market Street                               The Orrick Building
 San Francisco, CA 94105                         405 Howard Street
 Telephone: (415) 268-6066                       San Francisco, CA 94105-2669
 JGratz@mofo.com                                 Telephone: (415) 773-5700
                                                 ahurst@orrick.com
 Attorneys for OpenAI, Inc., OpenAI GP, LLC,
 OpenAI, LLC, OpenAI Opco LLC, OpenAI            Christopher J. Cariello
 Global LLC, OAI Corporation, LLC, OpenAI        Marc R. Shapiro
 Holdings, LLC                                   ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                 51 West 2nd Street
                                                 New York, NY 10019
                                                 Telephone: (212) 506-3778
                                                 ccariello@orrick.com
                                                 mrshapiro@orrick.com

                                                 Attorneys for Microsoft Corporation




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